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 6                       IN THE UNITED STATES DISTRICT COURT
 7                               DISTRICT OF ARIZONA
 8
     United States of America,                      No. CR-20-00634-PHX-DWL
 9
           Plaintiff,
10                                                       ORDER TO SEAL
           vs.
11
     Jill Marie Jones,                                       (Filed under seal)
12
            Defendant.
13
14         Upon motion of the Defendant and good cause appearing therefore,
15         IT IS HEREBY ORDERED that the Motion to File Under Seal is granted.
16         IT IS FURTHER ORDERED directing the Clerk of the Court to file
17   Defendant’s Notice of Filing along with Exhibit A (Doc.___) under seal, along with
18   this Motion to File Under Seal and Order, pursuant to Electronic case Filing
19   Administrative Policies and Procedures Manuel § II.J.
20         The Court finds excludable delay under 18 Title U.S.C. § 3161(h)(8) from
21   ______ to _________.
22         Dated this ____ day of May 2, 2022.
23
24                                          _____________________________
25                                          Honorable Dominic W. Lanza
                                            United States District Judge
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